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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
Walter Jackson,

                                   Plaintiff,
                                                                          ORDER
                 -against-
                                                                          18 Civ. 3185 (CS)(AEK)
Phoenix Transportation Service, et al.,

                                    Defendants.
----------------------------------------------------------------------X

THE HONORABLE ANDREW E. KRAUSE, U.S.M.J.
        As discussed during the January 11, 2021 conference, by no later than February 10,

2021, Plaintiff shall file his submission concerning all damages he seeks pursuant to the default

judgment entered against Defendant Phoenix Transportation Service (see ECF No. 48).

Plaintiff’s submission shall include (1) a document titled “Proposed Findings of Fact and

Conclusions of Law,” comprised of a list of numbered paragraphs, each of which shall include a

short statement regarding each element of damages sought by Plaintiff with respect to his claims

and why Plaintiff is entitled to said element of damages; and (2) a Declaration, which shall be

signed and sworn under penalties of perjury and shall provide Plaintiff’s written testimony

regarding the basis for the damages he seeks, and which shall attach any documents supporting

those damages (for example, pay stubs). Each Proposed Finding of Fact shall be followed by a

citation to the paragraphs of the Declaration and/or pages of documentary evidence that support

such proposed finding.

        Prior to filing the Proposed Findings of Fact and Conclusions of Law and the Declaration

with the Court, Plaintiff shall serve copies of these documents on Defendant Phoenix

Transportation Service by mail at its last known address. Plaintiff shall file proof of service

along with the Proposed Findings of Fact and Conclusions of Law and his Declaration.
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       By no later than March 10, 2021, Defendant Phoenix Transportation Service shall file its

response, if any, to Plaintiff’s Proposed Findings of Fact and Conclusions of Law.

       Plaintiff is hereby directed to serve Defendant Phoenix Transportation Service with a

copy of this Order by mail at its last known address, and file proof of service on the docket.

Dated: January 11, 2021
       White Plains, New York

                                                     SO ORDERED.


                                                     ___________________________________
                                                     ANDREW E. KRAUSE
                                                     United States Magistrate Judge




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